John P. Fazzio, Esq.
Fazzio Law Offices

26 Broadway, 21st Floor
New York, NY 10004
Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW

YORK
OLEG BESSONOV, )
) NOTICE OF APPEARANCE
Plaintiff, )
)
vs. )
) CIVIL ACTION
COSTCO WHOLESALE CORP., )
) FILE NO. 12-cv-487-wfk-lb
)
Defendant. )
)

 

NOTICE OF APPEARANCE
AND REQUEST FOR SERVICE OF NOTICES

Please Take Notice that 1 represent Plaintiff Oleg Bessonov in the above
captioned action. Please enter my appearance on behalf of said Plaintiff and place my
name and address on the distribution list, and direct copies of all notices in this District
Court proceeding, regardless of form, to the following:

John P. Fazzio, Esq.
Fazzio Law Offices

26 Broadway, 21st Floor
New York, NY 10004
jfazzio@fazziolaw.com
Phone (212) 785-5449
Fax (917) 591-1803

Dated: October 5, 2012 S/ John P. Fazzio, Esq.
John P. Fazzio, Esq.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

OLEG BESSONOV CV 12-487

Plaintiff.
SUBSTITUTION OF
Vv. ATTORNEY

COSTCO WHOLESALE CORPORATION

Detendant.

 

PlaintifY hereby notices and enters substitution of John P. Fazzio, Esq. and Joshua
Seidman, Esq. as counsel for Plaintiff in place of Fink & Platz.

Dated: New York, New York
June 20, 2012

Withdrawing Atiomey:

~ YS

oy oN
Fink & Platz NY
By: Harlan A. Platz
1325 Franklin Avenue. Suite #260
Garden City, New York 11530
Kew York, NY 10005
Phone: (516) 280-5516
Fax: (516) 280-5520

   

Superseding Atta

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Joshua E. Seidman, Esq.

29 Broadway, 2) st Floor 184 Grand Street, Suite 602 South
New York, New York 10013
Phone: (212) 726-1190

Fax: (917) 591-18903 Fax: (212) 726-3190
